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                          EXHIBIT A
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Certificate of Registration
                    This Certificate issued under the seal of the Copyright
                    Office in accordance with title 17, UnitedStates Code,
                    attests that registration has been made for the work
                    identified below. The information on this certificate has
                                                                                  Registration Number
                    been made a part of the Copyright Office records.
                                                                                  VAu 1-258-364
                    ~4~~
                                                                                  Effective Date of Registration:
                                                                                  July 05, 2016

                    Acting United States Register of Copyrights and Director



   Title

                        Title of Work:    Removed
                                          Volume: 1
                                          Date on C~pies: February    IOJS
                         Series Title:    Removed


    Completion/Publication
                Year of Completion:        2015


    Author

                    •     Author:          Eric Allen Pickersgill
                   Author Created:         photograph
                Work made for hire:        No
                        Citizen of:        United States


    Copyright Claimant

                Copyright Claimant:        Eric Allen Pickersgill
                                           609 Pecan Ave, Charlotte, NC, 28204, United States




     Rights and Permissions _____________________                                                                   _

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                              Address:     609 Pecan Ave
                                           Charlotte, NC 28204 Unjted States

    Certification

                                 Name:     Eric Pickersgill
                                  Date:    July 05, 2016



                                                                                                              Page 1 of 2
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        Copyright Office notes:   Basis for Registration: Unpublished collection




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